 

 

CaSe_4:ll-CEOlZO-Y Documentl Filed 08/10/11 Pagelof4 Page|Dl

ca e\

 
 

m U»S. ~S'§`PJCT C"i)§l§§‘§°`
\-"'"`TH;, il `§HSTREC"§` G§" TEXAS

F§LED

 
 
 

s
IN THE UNITED sTATEs DISTRICT C URT ' 1
FoR THE NoRTHERN DISTRICT oF T ~ XAS n \ 0 m
FoRT woRTH DIvIsIoN 1 l

 

 

 

 

 

l €LEI_§*<,U.S.DISTRICT COURT
' z By

UNITED sTATEs oF AMERICA § § >

§
v. § No.

§ 4 » t 1
TERRY GLEN SILLERS (1) § ‘ “*`“ el / §§ ` t ':‘ :,i -, Y

INDICTMENT
The Grand Jury charges:
Count One
Escape

(Violation of 18 U.S.C. § 751(a))

On or about June 21, 201 l, at Fort Worth, Texas in the Northern District of Texas,
the defendant, Terry Glen Sillers, did knowingly and Willfully escape from the custody
of Volunteers of America, an institution and facility in Which he Was lawfully confined at
the direction of the Attorney General by virtue of a judgment and commitment of the
United States District Court for the Northern District of Texas upon conviction for the

commission of Possession With Intent to Distribute Narcotics, in violation of 21 U.S.C. §§

84 l (a)( l) and (b)( l )(B).

Indictment - Page l

 

 

 

Case 4:11-cr-00120-Y Document 1 Filed 08/10/11 Page 2 of 4 Page|D 2

In violation of 18 U.S.C. § 751(a).

A BUE BILL.

1

15me

FoREPERsoN

 

JAMES T. JACKS
UNITED STATES ATTORNEY

 

 

Assistant United States Attorney
Illinois State Bar No. 6272325
Burnett Plaza, Suite 1700

801 Cherry Street, Unit #4

Fort Worth, Texas 76102-6882
Telephone: 817.252.5200
Facsimile: 817.252.5455

Indictment - Page 2

 

 

Case 4:11-cr-00120-Y Document 1 Filed 08/10/11 Page 3 of 4 Page|D 3
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA
VS.

TERRY GLEN SILLERS (l)

 

INDICTMENT

18 U.S.C. § 751(a)
Escape

 

 

A true bill rendered:

 

m
.`_;’r ’7 .' ,’,~'
FORT WORTH \`C/`\/LWL---EOREPERSON

Filed in open court this 10th day of August, A.D. 2011.

 

 

Warrant to Issue:

 

4 M@

UNITED TES MAGISTRATE JUDGE

 

0 R l @TN:K-[.r-OOlZO-Y Document 1 Filed 08/10/11 Page 4 of 4 Page|D 4

Criminal Case Cover Sheet
UNITED STATES DlsTRICT COURT
NORTHERN DlsTRICT oF TEXAS

 

Related Case Information

Superseding Indictment l:| Yes g No

l. Defendant Information NeW Def°“dam¢ g Yes m N°

Juvenile; |:| Yes X NO Pendin,<z CR Case inNDTX: \:| Yes ENo
Search Warrant Case Number:

Sealed. m Yes g NO Rule 20 from District of:
Magistrate Case Number:

 

 

 

 

Defendant Name
TERRY GLEN SILLERS (1)

Alias Name
Address

 

2. U.S. Attorney Information
AUSA Matthew J. Gulde Illinois State Bar # 6272325

3. Interpreter

m Yes lZl No T
If Yes, list language and/or dialect:

4. Location Status

Arrest Date:

E Federal Inmate -
EI Already in State Custody j
El On Pretrial Release `

|X| Warrant to Issue

 

5. U.S.C. Citations
Tota| # of Counts as to This Defendant: l 13 Petty EI Misdemeanor |Zl Felony
Citation Description of Offense Charged Countj s)
18 U.S.C. § 751(a) Escape l

///
Date gt OM 259 (’( Signature ofAU§,A% / .>

 

/

 

 

